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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 17-61223-CIV-DIMITROULEAS/Snow

  ALLSTATE INSURANCE COMPANY,

                 Plaintiff,

                 v

  RONDELL PETERS,

                 Defendant.

  _______________________________________/


                              REPORT AND RECOMMENDATION
                 THIS CAUSE is before the Court on Defendant's Motion to Enforce Settlement

  Agreement and Release (ECF No. 29) which was referred to Lurana S. Snow, United States

  Magistrate Judge for a Report and Recommendation. The motion is ripe for considertion.

                                   I. PROCEDURAL HISTORY
                 This was an action for breach of contract and misappropriation of trade secrets. On

  October 24, 2017, the parties filed a Joint Stipulation for Permanent Injunction and Dismissal after

  which the Court entered an Order of Permanent Injunction and Dismissal. (ECF Nos. 27 and 28)

  On November 13, 2017, the parties entered into a written settlement agreement, pursuant to which

  Allstate agreed to make certain payments to Defendant. After Allstate missed the December 10,
  2017 deadline for remitting the first payment, Defendant filed the instant motion seeking

  enforcement of the agreement and attorney's fees. Allstate has since remitted payment, albeit eleven

  days late.

                                 II. RECOMMENDATIONS OF LAW
                 The parties' Joint Stipulation for Permanent Injunction and Dismissal contains the

  following relevant language:

                 1. Peters, and all persons acting in concert with him, including the
                 employees and/or agents of Ensuren Enterprises, Inc., are
                 permanently enjoined from accessing, using, possessing or having
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                 access to Allstate "Confidential Information," as defined in Section
                 IV(D) of the EA Agreement;

                 2. Peters and all persons acting in concert with him, including the
                 employees and/or agents of Ensuren Enterprises, Inc., are enjoined
                 from:
                        (a) soliciting the purchase of products or services in
                        competition with those sold by Allstate with respect
                        to any person, company, or organization to whom
                        Peters or anyone acting on his behalf sold insurance
                        products or services on behalf of Allstate and who
                        was a customer of Allstate at the time Peters' EA
                        Agreement terminated;

                         (b) soliciting the purchase of products or services in
                         competition with those sold by Allstate with respect
                         to any person, company, or organization whose
                         identity was discovered by Peters as a result of his
                         status as an Allstate Exclusive Agent or as a result of
                         Peters' access to Allstate confidential information;

                         (c) soliciting the purchase of products or services in
                         competition with those sold by Allstate within one (1)
                         mile of his Allstate Exclusive Agency location.

                 3. The restraints provided in Paragraph 2(a) - (c) of this Order shall
                 expire on December 31, 2017;

                 4. The Court shall retain jurisdiction over any dispute that may arise
                 regarding Peters' compliance with this Order . . . .

  The Court entered the parties' stipulated order incorporating the language they requested. The parties

  stipulation is conditioned upon the Court retaining jurisdiction to preside over any dispute arising

  regarding Defendant's compliance. The parties did not request, and the Court did not retain,

  jurisdiction to enforce Allstate's obligations under the parties' settlement agreement, however.

  Therefore, the Court does not have jurisdiction to entertain Defendant's motion. See Kokkonen v.

  Guardian Life Insurance Comapny of America, 114 S.Ct. 1673 (1994); Anago Franchising, Inc. v.

  Shaz, LLC, 677 F.3d 1272 (11th Cir. 2012).

                                         III. CONCLUSION
                 This Court having considered carefully the pleadings, arguments of counsel, and the

  applicable case law, it is hereby


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                  RECOMMENDED that Defendant's Motion to Enforce Settlement Agreement and

  Release (ECF No. 29) be DENIED.

                 The parties will have 14 days from the date of being served with a copy of this Report

  and Recommendation within which to file written objections, if any, for consideration by The

  Honorable William P. Dimitrouleas, United States District Judge. Failure to file objections timely

  shall bar the parties from a de novo determination by the District Judge of an issue covered in the

  Report and shall bar the parties from attacking on appeal unobjected-to factual and legal conclusions

  contained therein, except upon grounds of plain error if necessary in the interest of justice. See 28

  U.S.C. § 636(b)(1); Thomas v. Arn, 474 U.S. 140, 149 (1985); Henley v. Johnson, 885 F.2d 790, 794
  (1989); 11th Cir. R. 3-1 (2016).

                 DONE AND SUBMITTED at Fort Lauderdale, Florida, this 2nd day of January,

  2018.




  Copies to:
  All Counsel of Record




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